
To the Honorable Speaker and Members of the House of Representatives
State Capitol
Montgomery, Alabama
Dear Sirs and Madam:
By resolution of 10 March 1977 you requested the Justices of this Court to give *516their advisory opinion on certain questions relating to the constitutionality of the substitute for House Bill 501 of the present session of the Alabama Legislature. The questions are:
“1. Is the law proposed by the substitute for the bill, H. B. 501, a local or a general law under Section 110 of the Constitution?”
Because of the failure to add the words “or any subsequent Federal Census” to the words “the most recent Federal Census,” where the latter appears in Section 1 of the Substitute Bill, the proposed law is a local one. The addition of that phrase will make the law a general one and meet the requisite test that allows other counties to come within the 600,000 inhabitant population classification as they attain that number of inhabitants by subsequent censuses. Opinion of The Justices, No. 223, Ala., 335 So.2d 376.
“2. If the answer to question one is that the substitute for H. B. 501 proposes a local law, then will such law be invalid since notice of intention to introduce it was not published as required by Section 106 of the Constitution?”
Section 106 is emphatic in imposing the requirement of advertising local acts prior to their passage. It mandates that the courts shall pronounce void every local law which the journals (of the legislature) do not affirmatively show was passed according to the advertising requirements of that section. Ala. Const, of 1901, § 106, Jefferson County Board of Health v. City of Bessemer, 293 Ala. 237, 301 So.2d 551.
“3. If your answer to question 1 above is that the substitute for the bill, H. B. 501, proposes a general bill, then is the title sufficient to comply with section 45 of the Constitution?”
Section 45 requires that each law, general or local, shall contain but one subject. The subject of the proposed bill is one; the maintenance and operation of county departments of health. Boswell v. State, 290 Ala. 349, 276 So.2d 592; Opinion of the Justices, No. 224, Ala., 335 So.2d 373.
“4. Does the substitute for H. B. 501 so alter or amend the bill as to change its original purpose in contravention of Section 61 of the Constitution?”
The original purpose of H. B. 501 was to provide for the maintenance and operation of county departments of health in counties of 600,000 or more inhabitants; that is the purpose of the substitute for H. B. 501, therefore the substitute does not alter or amend the original bill to change its original purpose in contravention of Section 61 of the Constitution. Opinion of the Justices, No. 224, Ala., 335 So.2d 373.
Respectfully submitted,
C. C. TORBERT, JR., Chief Justice
JAMES N. BLOODWORTH
HUGH MADDOX
JAMES H. FAULKNER
RENEAU P. ALMON
JANIE L. SHORES
ERIC EMBRY
SAM A. BEATTY
Justices.
